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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
BULGARI, S.p.A.,
Case No. 18-cv-07787
Plaintiff,
Judge John Z. Lee
V.
Magistrate Judge Jeffrey T. Gilbert
XIA WANG, et al.,
Defendants.

 

 

SATISFACTION OF JUDGMENT

WHEREAS, a judgment was entered in the above action on March 5, 2019 [53], in favor
of Plaintiff Bulgari, S.p.A. (“Bulgari”) and against the Defendants Identified in Schedule A in
the amount of two hundred fifty thousand dollars ($250,000) per Defaulting Defendant, and
Bulgari acknowledges payment of an agreed upon damages amount, costs, and interest and
desires to release this judgment and hereby fully and completely satisfy the same as to the

following Defendants:

 

Defendant Name Line No.

 

 

 

Elu xiao Store 100

 

 

THEREFORE, full and complete satisfaction of said judgment as to the above-referenced
Defendant is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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Dated this 30th day of May 2019.

Respectfully submitted,

Angle

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Counsel for Plaintiff Chrome Hearts LLC

Subscribed and sworn to me by Amy C. Ziegler, on this 30th day of May 2019.

Given under by hand and notarial seal.

ALYSSA GUYNN
Official Seal
Notary Public - State of Illinois

My Commission Expires Nov 16, 2022 )

 

Minny :

Notary Public

State of Illinois
County of Cook
